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Sarthem District of _Ohip Cwertern Ditstea)

UNITED STATES OF AMERICA
ORDER OF DETENTION PENDENG TRIAL

Maca wn Melaes Case Number: I: Gler | 32

Defendant /
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. | conclude that the following facts require
detention of the defendant pending trial in this case.

Part I—Findings of Fact
() (1) The defendant is charged with.an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a
or local offense that would have been a federal offense if a circumstance giving mse 10 federal jurisdiction had existed -
() acrime of violence as defined in 18 U.S.C. § 3156(a)(4).

(] an offense for which the maximum sentence is life imprisonment or death.
(] an offense for which a maximum term of imprisonment of ten years or more ts prescribed in

C] federal offense (]s
that is

 

a felony thal was committed after the defendant had been convicted of two or more prior federal offenses describerd in 18 U.S.C,

C
§ 3142(f(1)(A}-(C), or comparable state or local offenses.
The offense described in finding (1} was committed while the defendant was on release pending trial for a federal, state or local offense

 

(2)
5 (3) A period of not more than five years has elapsed simce the ((] date of conviction ([] release of the defendant from imprisonment
for the offense described in finding (1).
(J (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure th
safety af (an) other person(s) and the community. ! further find that the defendant has not rebutted this presumption. —
Alternative Findings (A)
fq (1) There is probable cause to believe that the defendant has committed an offense
(] lor which a maximum term of tmprisonment of ten years or more ts prescribed in
CJ under 18 USC § 924(c).
( (2) The defendant has not rebutted the presumption established by finding ] that no condition or combination of conditions wi) reasonably assi
the appearance of the defendant as required and the safety of the community.
Alternative Findings (B)
C] (1) There 1s 2 serious risk that the defendant will not appear.
(C] (2) There is a serious risk that the defendant will endanger the safety of another person or the community.

 

 

 

 

 

 

 

Part ]1]—Written Statement of Reasons for Daten
tion submitted at the hearing establishes hy clear and convincing evidenice (J a prepon-

1 find that the credible testimony gnd info

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Part IJl—Directions Regarding Detentien
he delendantis commatted to the custody of the Attomey ‘Fencral or his designated representative forconfinement ina correctin cus facility separate
tothe extcnl practicable, from persons awatung or serving sentences or being held injcustocly pending appeal. The defendant shall be afforded a
wpportunity for private consultation with defense counsel On order of a fourt of the United States or on request of an atiomey for the

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reas able of
Coveunent the person in charge af the corrections fucility stall deliver the defendaAr to the UWrnted States marshal tor the pure -se of un appesran ¢
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